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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 12-20700-CR-LENARD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 MANUEL LOZANO,

        Defendant.
                                               /

               RECEIVER’S MOTION TO APPROVE SALE OF PROPERTY

        George Richards, Receiver, through the undersigned counsel, files this Motion to Approve

 a Sale of the real property which is the subject of this receivership pursuant to the Order Appointing

 Receiver, and in support thereof states as follows:

        1.      On October 9, 2013, this Court entered an Order Appointing George Richards of

 National Auction Company, Inc. as the Receiver (DE #84) over certain real property owned by

 Defendant, Manuel Lozano (“Lozano”). The Receiver was authorized and directed to sell the real

 property in order to satisfy the Defendant’s outstanding restitution obligation to the United States

 totaling $1,851,000.00 (DE#73).

        2.      The property which is the subject of this receivership consists of a single family home

 more specifically described as follows:

                Owner:                  Manuel Lozano
                Folio No.               32-2021-014-0190
                Location:               9164 NW 146th Terrace, Miami Lakes, Florida
                Legal Description:      Lot 19A, Block 8, of FLORIDA TROPICAL ESTATES
                                        SECTION 4, according to the Plat thereof, recorded in Plat
                                        Book 145, Page 22, of the Public Records of Miami-Dade
                                        County, Florida (the “Property”).

        3.      On February 13, 2014, the Receiver entered into a Contract to sell the Property

 to Jenny Varela (“Buyer”) for the initial purchase price of $390,000.00 (the “Varela Contract”). The


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 purchase price was subsequently reduced to $385,000.00 by an Amendment dated March 27, 2014

 as a result of the appraisal that was performed on the Property as part of the Buyer’s financing. A

 copy of the Contract and Amendment are attached hereto as Exhibit “A”.

           4.    Pursuant to the terms of the Varela Contract, the sale of the Property is subject to

 Court approval and any higher or better offers.

           5.    The Receiver believes the proposed purchase price of $385,000.00 is fair and

 reasonable for the sale of the Property under present market and property conditions and

 recommends the Court approve same. No higher or better offers have been received by the Receiver

 for the Property.

           6.    The proposed Buyer has agreed to purchase the Property subject to all defects and

 in as-is condition.

           7.    The Buyer’s financing has been approved and the is prepared to close within 30 days

 after Court approval. All inspection periods under the Contract have expired and the Property is

 vacant.

           8.    The Property is encumbered by the following liens: (a) a first mortgage held and/or

 serviced by 1st Franklin Divison of National City Bank and/or Residential Credit Solutions, Inc.,

 with an outstanding principal balance of approximately $290,000.00; and (b) a final judgment

 against the Defendant held by Enterprise Leasing Company. The judgment lien of Enterprise

 Leasing Company is subject to dispute by virtue of the fact that the subject property is the

 homestead of Defendant.

           9.    The Receiver does not dispute the mortgage and requests authorization to pay same

 from the proceeds of sale.

           10.   In addition to customary closing costs and prorations, the sales price will be reduced

 by the fees and costs incurred by and owed to the Receiver, which will be presented to the Court by

 separate motion in the event the sale is approved by the Court and the transaction closes.

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        11.     The Receiver requests entry of an Order approving the Varela Contract, establish

 closing procedures and authorize the Receiver to complete the sale and convey the Property to the

 buyer. A proposed Order Approving Sale is attached hereto as Exhibit “B” for the Court’s review

 and consideration.

        WHEREFORE, the Receiver respectfully requests this Honorable Court approve the

 proposed sale of the Property and grant such other and further relief as the Court deems just and

 proper under the circumstances.

                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 8th, 2014, I electronically filed the foregoing document with the

 Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

 day on all counsel of record or pro se parties identified on the attached Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

 other authorized manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.

                                                Respectfully submitted,


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                                       SERVICE LIST
                              United States v. Manuel Lozano
                            CASE NO. 12-20700-CR-LENARD
                  United States District Court, Southern District of Florida

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